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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  CRAIG DULWORTH and
  BRIANNA DULWORTH,

              Plaintiffs,

  v.                                   CIVIL ACTION NO. 1:22-cv-00469-JMS-MJD


  EQUIFAX INFORMATION
  SERVICES LLC; and
  EXPERIAN INFORMATION
  SOLUTIONS, INC.,

              Defendants.
  ______________________________________________________________________________

             PLAINTIFFS’ OPPOSITION TO EQUIFAX INFORMATION
        SERVICES LLC’S AND EXPERIAN INFORMATION SOLUTIONS, INC.’S
                  JOINT MOTION FOR SUMMARY JUDGMENT
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         Plaintiffs Craig and Brianna Dulworth (“Plaintiffs”) oppose the Joint Motion for Summary

  Judgment filed by Defendants Equifax Information Services LLC and Experian Information

  Solutions, Inc. (ECF 180.) Because genuine issues of material fact exist as to each element on

  which Defendants move, the Court should decline to take this case away from the jury. The Court

  should therefore deny Defendants’ Motion.

                                              OVERVIEW

         The summary judgment record shows that Plaintiffs disputed the erroneous reporting of a

  reaffirmed and never late automobile loan with two of the national consumer reporting agencies

  (“CRAs”) in eight separate letters and were still unable to convince Equifax and Experian to

  correct their reporting. In response to Plaintiffs’ disputes, Defendants doubled down on their

  mistakes by either completely ignoring the disputes, or by re-verifying the reaffirmed account as

  discharged in Plaintiffs’ 2018 bankruptcy, despite information in both the public record and

  Defendants’ own files contradicting their reporting. Despite their behavior in this case, the

  Defendants are sophisticated entities well aware of their obligations under the federal Fair Credit

  Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”).

         Genuine issues of fact preclude the entry of summary judgment on Plaintiffs’ claims for

  negligent and willful violations of the FCRA. Issues relating to the reasonableness of the

  Defendants’ procedures for reporting reaffirmed loans post-bankruptcy discharge, and the

  investigations or lack thereof, into the inaccurate reporting, in addition to whether the Defendants

  acted willfully, are jury questions in the overwhelming number of cases. This case is not the

  exceptional case that would warrant the Court removing these questions from the jury’s

  consideration.




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                                      FACTUAL BACKGROUND

         Plaintiffs are Indiana citizens who, on or about October 12, 2018, filed a joint bankruptcy

  under Chapter 7 of the bankruptcy code, case number 18-077856-JMC-7, in the Southern District

  of Indiana. ECF No. 194-1 (Ex. A - Plaintiffs’ Bankruptcy Petition). Plaintiffs received a

  bankruptcy discharge on or about January 15, 2019. ECF No. 194-3 (Ex. B - Discharge Order). As

  part of the bankruptcy proceedings, Plaintiffs reaffirmed an automobile loan for a 2016 Kia Sedona

  with former Defendant Ally Financial/Ally Bank (“Ally”) on or about December 20, 2018 in

  document twenty (20) of the bankruptcy. ECF No. 194-2 (Ex. B - Reaffirmation Agreement). In

  addition to being signed by the Plaintiffs, the reaffirmation agreement was signed by an Ally

  representative and was filed by Ally’s counsel. Id. at 6. The reaffirmation agreement was timely

  filed under the Rules of Bankruptcy Procedure. Rule 4008(a).

         At all relevant times Plaintiffs maintained current payments on the account. ECF No. 195-

  3 (Ex. S - Hays Depo) ¶ 69:17–70:7 (noting that the account was current and “paid in full”).

  Because of Plaintiffs excellent payment history and the reaffirmation of the Ally loan, the account

  should have been reported as “reaffirmed” in the Plaintiffs’ bankruptcy with a positive payment

  history instead of discharged. The inaccuracy is material because by reporting the account as

  “included in bankruptcy” the Defendants are taking an account which should have been positive,

  and turned it into a negative account. See ECF No. 195-5 (Ex. U - Hamilton Depo) ¶23:20–24:5.

         Approximately a year after their bankruptcy, Plaintiff Brianna Dulworth reviewed her

  credit reports because she and Mr. Dulworth were interested in buying a house. ECF No. 194-4

  (Ex. D [Brianna Depo] ¶ 30:4–23). During this time, Ms. Dulworth discovered that Defendants

  Equifax and Experian reported the reaffirmed Ally loan as “included in bankruptcy.” Id. ¶ 120:23–

  121:12). The reporting of the loan as “discharged” in bankruptcy is inaccurate as the loan should




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  have been reported as a current, timely-paid credit obligation and/or with a remark that the account

  was reaffirmed in bankruptcy.

          Notwithstanding the maximum possible accuracy requirement Section 1681e(b),1

  Defendants reported the debt owed to Ally as discharged or included in bankruptcy after Plaintiffs

  reaffirmed the debt. See e.g., ECF No. 194-10 (Ex. J - Craig Dulworth Sept. 2021 Dispute).

  Defendants’ reporting the Ally loan as discharged or included in the Plaintiffs’ bankruptcy is

  inaccurate. Plaintiffs set out to correct this misreporting first by contacting Ally, up to seven times,

  and requesting they correct the misreported loan information. ECF No. 194-4 (Ex. D [Brianna

  Depo] ¶ 121:13–122:16). After it became clear that continuing to dispute directly to Ally was

  futile, the Plaintiffs went to the CRA Defendant by each submitting dispute letters to Equifax and

  Experian on September 7 and November 1, 2021 (totaling eight disputes, four to Experian and


  1
    Defendants repeatedly reference the Agreed Bankruptcy Coding procedures for reporting post-discharge
  credit information that came into being through the 2008 settlement of the case Terri N. White v. Experian
  Information Solutions, Inc., No. 05-cv-1070 (C.D. Cal.) (the “White Settlement”). There the national CRAs
  agreed to a procedure for reporting post-discharge debts that predated the bankruptcy filing. The procedure
  for reporting pre-petition debt, after the entry of the bankruptcy discharge, as agreed to by the consumer
  reporting agencies, is generally outlined as follows:

      a) Defendants would first identity all accounts in a consumer’s credit file which is in a collections
         status, and not reported as a closed account, and has an opening date that pre-dates or is equal to,
         the date of the bankruptcy filing.

      b) After identifying these accounts, Defendants would exclude certain accounts which must be
         reported pursuant to statute or policy (e.g., family or child support obligations, government fines,
         etc.).

      c) For the remaining collection accounts, Defendants would apply the Agreed Bankruptcy Coding
         procedure which includes reducing the balance to zero (or a blank balance) and including a status
         notation of “included in bankruptcy” on the account.

  ECF No. 194-17 (Ex. V - White Settlement Order) at 18. This procedure was not applied in this case, for
  two reasons. First, Ally reported the account as included in bankruptcy and therefore this account was
  excluded from the post-bankruptcy scrub. Second, even if Ally had not reported the account as included in
  bankruptcy the CRAs still would not have applied the bankruptcy scrub procedures to the Ally account
  because it was in a positive (i.e., not delinquent) pay status at the time the bankruptcy was filed.
  Consequently, the procedures mandated to by the White settlement are completely inapposite for purposes
  of determining whether the reporting procedures here were reasonable.


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  Equifax each). See generally, ECF Nos. 194-6; 194-8; 194-10; 194-12 (Exs. F; H; J; L - Plt

  Disputes to Equifax); ECF Nos. 194-7; 194-9; 194-11; 194-13 (Exs. G; I; K; M - Plt Disputes to

  Experian).

         To assist them with the dispute process, Plaintiffs retained the Kansas City based law firm

  of Stecklein & Rapp Chartered. Ms. Dulworth testified that she was the one who noticed the

  inaccuracies during her own review of her credit reports ECF No. 194-4 (Ex. D [Brianna Depo]

  ¶ 192:19–25); that she provided information to her attorneys to help them draft the dispute letters

  Id. ¶ 110:3–7); that she reviewed the dispute letters for accuracy (Id. ¶ 110:8–13); that she signed

  the dispute letters Id. ¶ 118:19–25).

         Plaintiffs’ disputes included personal identifying information for the Plaintiffs. See e.g.,

  ECF No. 194-6 Ex. F (Brianna Dulworth Sept. Dispute to EFX). The disputes were also signed by

  the Plaintiff. Id. at 8. The disputes also included a detailed description of the inaccurate Ally

  account (see id. at 4–5), a copy of each Plaintiff’s driver’s license (id. at 9), and a copy of the

  reaffirmation agreement. Id. at 10–15.

         Of the four total disputes sent to Experian, none were investigated because Experian, by

  its own admission, had categorized them as coming from an entity other than the consumers. ECF

  No. 183-3 (Hamilton Declaration) ¶ 21–22. Experian did not contact the Plaintiffs at all as a result

  of its decision to ignore their letters. ECF No. 194-16 (Ex. R - EXP responses to Plt Second RFA)

  ¶ 26. Experian’s disposal of Plaintiffs’ dispute letters was definitive in that Experian has no record

  of ever receiving the disputes from the Plaintiffs. ECF No. 195-5 (Ex. U - Hamilton Depo)

  ¶ 42:16–43:17 (Q. “Experian has no record of receiving communication from the plaintiffs, either

  plaintiff regarding the Ally account?” A. “Correct, yes.”). However, it cannot be disputed that an

  Experian mail room technician, James Swanson, signed for Plaintiffs’ certified disputes,




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   evidencing that they were, at a minimum, received by Experian. See id. ¶ 52:1–13; ECF No. 194-

   15 (Ex. Q - Experian resp to Plt first RFA) ¶ 3 (“Experian admits that James Swanson was an

   employee of Experian Information Solutions, Inc. between August 1, 2021 and December 1,

   2021”).

          Of the four total disputes sent to Equifax, three were received. One for Plaintiff Craig

   Dulworth, and two for Plaintiff Brianna Dulworth. ECF No. 194-14 (Ex. P - EFX Responses to Plt

   1st IROGs) at 2. As part of its general investigation procedures for the three disputes which were

   received, Equifax did not contact its public records vendor, nonparty LexisNexis, which supplies

   it with general bankruptcy information. ECF No. 195-4 (Ex. T - Smith Depo) ¶ 25:6–20. Equifax

   also does not check PACER for the bankruptcy docket, which would have confirmed that the

   Dulworths’ reaffirmation agreement was timely filed and valid. Id. ¶ 24:21–25:5. The only thing

   that Equifax does is send an ACDV to the furnisher, Ally Financial in this case, to confirm the

   accuracy of its own reporting.

          The first Equifax investigation was Plaintiff Brianna Dulworth’s September 2021 dispute.

   For this dispute, Equifax did not even do the one thing it says it supposed to do, which is send an

   ACDV to the furnisher to conduct its own investigation of the reporting. ECF No. 195-4 (Ex. T -

   Smith Depo) ¶ 32:25–34:6. Equifax explains this error away as the agent responsible for reading

   the dispute potentially “misinterpret[ing]” the document. Id. ¶ 33:7–16; see also ECF No. 183-2

   (Cobb Declaration) ¶ 57–59.

          Plaintiff Craig Dulworth’s September 2021 dispute was better interpreted. For this dispute,

   Equifax prepared an ACDV and sent it to Ally Financial, who verified that the account should be

   reporting as “included in bankruptcy.” ECF No. 195-4 (Ex. T - Smith Depo) ¶ 43:6–13; see also

   ECF No. 195-1 (Ex. N - October 11 ACDV). This same ACDV also informed Equifax that the




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   account had a balance, was not past due, and had an account status of “11” meaning “current

   account” meaning that it was not in a delinquent status. Id. at 1. Without taking any other

   investigatory steps, Equifax informed Plaintiff Craig Dulworth that the inaccurate reporting would

   remain on his credit reports. ECF No. 195-4 (Ex. T - Smith Depo) ¶¶ 39:10–16; 52:1–7.

          Equifax’s investigation into Plaintiff Brianna Dulworth’s November 2021 dispute

   proceeded exactly as had Plaintiff Craig Dulworth’s September 2021 dispute. Equifax created and

   sent an ACDV to Ally Financial, who received the ACDV and responded that the account should

   continue to report as included in bankruptcy. ECF No. 195-2 (Ex. O - December 11, 2021 ACDV).

   Equifax informed Plaintiff Brianna Dulworth of that result. ECF No. 195-4 (Ex. T - Smith Depo)

   ¶ 72:14–19. Equifax did not take any additional steps to investigate Plaintiff Brianna Dulworth’s

   November dispute, even after receiving and completing its investigation of Plaintiff Craig

   Dulworth’s September dispute. Id. ¶ 63:19–65:4.

          The effect of being informed that their meritorious disputes as to the misreporting of the

   Ally loan were rejected caused the Dulworths significant distress. Ms. Dulworth testified that she

   suffers “high blood pressure and anxiety,” “sadness and depression,” and that she spoke with her

   medical doctor regarding the “overwhelming stress” in her life. ECF No. 194-4 (Ex. D - Brianna

   Depo) ¶ 240:22–242:15. These problems were compounded by the repeated failure to correct the

   inaccurate reporting of the reaffirmed Ally Loan in that Ms. Dulworth testified that she was

   frustrated with the dispute process with Experian and Equifax, and that the process was

   “exhausting.” Id. ¶ 127:4–15. Mr. Craig Dulworth testified that his distress stems from “us trying

   to fix things, it never happened, so its very frustrating.” ECF No. 194-5 (Ex. E - May 9 Craig

   Depo) ¶ 135:23–136:9. He testified to feeling helpless that “no one” would help with correcting

   the misreporting. Id.




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          As a final attempt to correct the misreporting of the reaffirmed Ally loan, Plaintiffs filed

   suit in the Johnson Superior Court on February 1, 2022. ECF No. 1-1. This case was removed to

   this Court by Defendant Experian on March 10, 2022. ECF No. 1.

                                          LEGAL FRAMEWORK

   I.     The FCRA Provisions At Issue.

          Plaintiffs allege that Defendants acted with reckless disregard of their statutory duties by

   allowing the inaccurate reporting to appear on their consumer reports in violation of 15 U.S.C.

   § 1681e(b). Plaintiffs further allege that Defendants acted with reckless disregard of their statutory

   duties by failing to conduct reasonable investigations into Plaintiffs’ disputes of the inaccurate

   reporting. Plaintiffs allege that Defendants’ failure to correct the misreporting after notice and

   Plaintiffs’ disputes violates Section 1681i of the FCRA.

          The FCRA was enacted to ensure that “consumer reporting agencies adopt reasonable

   procedures for meeting the needs of commerce for consumer credit, personnel, insurance, and

   other information in a manner which is fair and equitable to the consumer, with regard to the

   confidentiality, accuracy, relevancy, and proper utilization of such information.” 15 U.S.C. §

   1681(b). Section 1681e(b) provides, “[w]henever a consumer reporting agency prepares a

   consumer credit report it shall follow reasonable procedures to assure maximum possible accuracy

   of the information concerning the individual about whom the report relates.” 15 U.S.C. § 1681e(b).

          “The threshold question in a § 1681e(b) action is whether the challenged information is

   inaccurate.” Houston v. TRW Info. Servs., Inc., 707 F. Supp. 689, 691 (S.D.N.Y. 1989). An

   allegation of an actual inaccuracy is one that challenges the factual accuracy of the information

   provided by a furnisher to a CRA. See Grigoryan v. Experian Info. Sols. Inc., 84 F. Supp. 3d 1044

   (C.D. Cal. 2014). “[T]he distinction between ‘accuracy’ and ‘maximum possible accuracy’ is . . .




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   quite dramatic.” Cortez v. Trans Union, LLC, 617 F.3d 688, 709 (3d Cir. 2010). The use of the

   phrase “maximum possible accuracy” thus “suggests that Congress wanted to hold CRAs to a

   higher standard than mere technical accuracy.” Twumasi-Ankrah v. Checkr, Inc., 954 F.3d 938,

   942 (6th Cir. 2020).

           15 U.S.C. § 1681i(a) requires that, when a consumer notifies a CRA of a dispute regarding

   “the completeness or accuracy of any item of information contained in the consumer’s file,” the

   CRA must “conduct a reasonable reinvestigation to determine whether the disputed information is

   inaccurate.” Edeh v. Midland Credit Mgmt., 748 F. Supp. 2d 1030, 1039 (D. Minn. 2010); 15

   U.S.C. § 1681i(a)(1)(A). A claim for violations of § 1681i requires that; (1) the consumer disputes

   to the consumer reporting agency of an; (2) inaccuracy in their; (3) consumer report, and the

   consumer reporting agency; (4) failed to follow reasonable procedures for reinvestigating the

   consumer’s dispute about their report. Wright v. Experian Info. Sols. Inc., 805 F.3d 1232, 1239

   (10th Cir. 2015); Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997). “Courts have

   consistently held a reasonable investigation requires more than ‘making only a cursory

   investigation into the reliability of information that is reported to potential creditors.’” Wright, 805

   F.3d at 1242 (citing Cortez, 617 F.3d at 712–13)).

           Here, Plaintiffs bring claims for both negligent and willful violations of the FCRA. “To

   willfully violate the FCRA, a company must do so recklessly.” Buckley v. Afni, Inc., 133 F. Supp.

   3d 1140, 1147 (S.D. Ind. 2016) (citing Safeco Insurance Co. v. Burr, 551 U.S. 47, 69 (2007)). “A

   company does not act in reckless disregard of the FCRA, however, unless the action it takes is not

   only a violation under a reasonable reading of the statute’s terms, but shows that the company ran

   a risk of violating the law substantially greater than the risk associated with a reading that was




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   merely careless.” Jackson v. Experian Info. Sols., Inc., 236 F. Supp. 3d 1058, 1065 (N.D. Ill. 2017)

   (quoting Safeco, 551 U.S. 47, 69 (2007)).

   II.    Summary Judgment Standards.

          “Summary judgment is warranted when there are no genuine disputes of material fact

   between the parties and no reasonable factfinder could find for the non-movant on an essential

   element on which it bears the burden of proof at trial.” Ostrowski v. Lake County, Nos. 21-1674,

   21-2580, 2022 U.S. App. LEXIS 12673, at *8 (7th Cir. May 11, 2022) (citing Celotex Corp. v.

   Catrett, 477 U.S. 317, 322 (1986)). The burden to make such a showing is on the movant. Kester

   v. Menard, Inc., No. 3:20-cv-50289, 2021 U.S. Dist. LEXIS 235824, at *3-4 (N.D. Ill. Dec. 9,

   2021). “Material facts are those that might affect the outcome of the suit.” Id. (quoting Anderson

   v. Liberty Lobby Inc., 477 U.S. 242, 248 (1986)). “The Court must construe the ‘evidence and all

   reasonable inferences in favor of the party against whom the motion under consideration is

   made.’”). Id. (quoting Rickher v. Home Depot, Inc., 535 F.3d 661, 664 (7th Cir. 2008)). “’Summary

   judgment is only warranted if, after doing so, [the court] determine[s] that no jury could reasonably

   find in the nonmoving party’s favor.’” Id. (quoting Blasius v. Angel Auto, Inc., 839 F.3d 639, 644

   (7th Cir. 2016)). Defendants fail to meet their burden.

                                    ARGUMENT AND AUTHORITIES

   I.     Genuine Issues Of Material Fact Exist As To The Accuracy Of Defendants’ Reporting
          Of The Account.

          A.      The Phantom Distinction Between Legal And Factual Questions Does Not
                  Absolve Defendants Of Their FCRA Duties.

          Claims under Section 1681e(b) and 1681i both have accuracy components. Salem v. Legal

   Liaison Serv., No. 16-cv-3927, 2019 WL 1057371, at *3 (N.D. Ill. Mar. 6, 2019). A report can be

   inaccurate if it is patently false, or misleading such that it can be expected to adversely impact




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   credit decisions. Plotzker v. Equifax Info. Servs. LLC, No. 19 C 4554, 2020 WL 1548956, at *3

   (N.D. Ill. Apr. 1, 2020). Defendants’ centerpiece argument on accuracy is that whether the

   affirmation agreement between Plaintiffs and Ally is valid and should result in reporting the

   Account differently than Ally indicated is a legal dispute into which CRAs cannot wade. (ECF 186

   at 16–18.) Defendants cling to this argument, pretending they are not able to arrive at such

   supposed legal conclusions, despite the fact that they did just that—again and again—by reporting

   the Account as included or discharged in bankruptcy. That reporting is the epitome of a legal

   conclusion, In re Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005), which Defendants make

   every day in their regular reporting processes. Defendants accept and repeat such conclusions from

   furnishers like Ally as though it were gospel truth and despite the fact that bankruptcy filings and

   Defendants’ own records show otherwise. So Defendants make and report legal conclusions

   constantly when it suits them, but when they are sued they and want to avoid liability retreat to the

   legal/factual distinction that has some traction in courts, but no basis whatsoever in the statute. See

   15 U.S.C. §§ 1681e(b), 1681i; see also Gross v. CitiMortgage, Inc., 33 F.4th 1246, 1253 (9th Cir.

   2022) (“The distinction between ‘legal’ and ‘factual’ issues is ambiguous, potentially unworkable,

   and could invite furnishers to ‘evade their investigation obligation by construing the relevant

   dispute as a ‘legal’ one.’”).

           There is however, an additional problem for Defendants that does not depend on the legal

   versus factual distinction. Defendants could have included within Plaintiffs’ credit reports a

   notation that they were making payments pursuant to an agreement even if Defendants had doubts

   about its validity. Defendants possessed the Agreement, as Plaintiffs submitted it with their

   disputes. See generally, ECF Nos. 194-6; 194-8; 194-10; 194-12 (Exs. F; H; J; L Plt Disputes to

   Equifax); ECF Nos. 194-7; 194-9; 194-11; 194-13 (Exs. G; I; K; M Plt Disputes to EXP). As




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   Experian is aware, the Seventh Circuit recently considered this precise issue in Chaitoff v.

   Experian Information Solutions, Inc., 79 F.4th 800 (7th Cir. 2023). In that case, the plaintiff fell

   into financial difficulties, and signed an agreement with his mortgage company to stave-off

   foreclosure called a Trial Period Plan, or TPP. Id. at 808. Chaitoff’s credit reports, however, did

   not reflect the payments made pursuant to the agreement—they stated his account was delinquent.

   Id. Chaitoff disputed the reporting with Experian, and when it did not correct the reporting, he

   sued, like Plaintiffs, under Sections 1681e(b) and 1681i of the FCRA. Id. at 810–11.

          Experian moved for summary judgment and argued, as here, its reporting was accurate

   because “the existence and effect of Chaitoff’s TPP were both legal questions beyond its

   competency to resolve” but, even if the reporting was inaccurate, its reporting and investigation

   procedures were reasonable as a matter of law. Id. The district court granted the motion, agreeing

   that Chaitoff’s complaint was the legal accuracy of his loan modification, not the factual accuracy

   of it. Id. at 811. The court alternatively agreed that the reporting and dispute procedures were

   reasonable regardless of the accuracy of the reporting. Id.

          The Seventh Circuit reversed that decision. It concluded that Experian’s failure to mention

   the TPP in Chaitoff’s credit reports was a material omission, rendering the reporting short of the

   “maximum possible accuracy” standard imposed by Section 1681e(b) of the FCRA. Id. at 813–14.

   As the court put it: “The debtor without the TPP has no evidence that she can make timely and

   complete payments, but the debtor who completed the TPP does.” Id. It added a remark from the

   Sixth Circuit, which noted “[r]eporting that a consumer ‘was delinquent on his loan payments

   without reporting the TPP implies a much greater degree of financial irresponsibility.’” Id.

   (quoting Pittman v. Experian Info. Sols., 901 F.3d 619, 639 (6th Cir. 2018)); see Plotzker, 2020

   WL 1548956, at *3 (noting that a report can be inaccurate if it is misleading in a way that would




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   adversely impact credit decisions). The court further explained, in discussing Experian’s (and also

   Defendants’ here) foundational argument that such reporting involved a legal dispute it could not

   resolve:

           Whether Chaitoff’s TPP existed is a factual question because Experian was not
           asked to apply law to facts. Nothing in Chaitoff’s complaint can be read to
           collaterally attack his Ocwen mortgage. Rather, Chaitoff asked that his credit report
           reflect his TPP, something well within Experian’s capabilities. It is, after all, a
           credit reporting agency. Nothing about Chaitoff’s alleged inaccuracy required
           Experian to investigate beyond the face of the documents it was provided. Henson
           [v. CSC Credit Services, 29 F.3d 280 (7th Cir. 1994)] held that CRAs act reasonably
           when they rely on legal documents of unquestioned authenticity. Chuluunbat [v.
           Experian Information Solutions, 4 F.4th 562 (7th Cir. 2021)] recognized the flip
           side of the rule: a CRA might be liable if it ignores or overlooks documents of
           unquestioned authenticity, even if they relate to a legal dispute. Such is the case
           here. The existence of Chaitoff’s TPP was a factual—not legal—dispute, and the
           district court was wrong to conclude otherwise.

   Id. at 815.

           Little is different here. First, it cannot be definitively said that Plaintiffs present a purely

   legal issue in their inaccuracy disputes. Courts regularly recognize that the quintessential “legal

   dispute is when a consumer argues that although his debt exists and is reported in the right amount,

   it is invalid due to a violation of law.’” Id. (quoting Chuluunbat, 4 F.4th at 567). Or, more simply,

   “legal disputes amount to collateral attacks on the disputed debt.” Id. Nothing like that is happening

   here. In fact, this case presents the opposite scenario—Plaintiffs claim that they do owe the debt,

   yet Defendants are reporting that fact inaccurately. Plaintiffs are not collaterally attacking

   anything.

           Other decisions have poked further holes into the legal-versus-factual-question debate. In

   Sessa v. Trans Union, LLC, 74 F.4th 38 (2d Cir. 2023), a dispute about whether a CRA accurately

   reported as a debt a balloon-payment option at the end of a vehicle lease where no such payment

   was truly due, saw the Second Circuit again reverse a summary judgment for the CRA. Id. at 40.




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   The court held “there is no bright-line rule providing, as the District Court concluded, that only

   purely factual or transcription errors are actionable under the FCRA.” Id. at 43. Instead, the court

   reasoned:

           The question of whether a debt is objectively and readily verifiable will sometimes,
           as it did in Mader, involve an inquiry into whether the debt is the subject of a legal
           dispute. There, the issue of whether Mader’s debt had been discharged presented
           an “unresolved legal question” under bankruptcy law, which “render[ed] his claim
           non-cognizable under the FCRA.” Id. at 270. But that does not mean that any
           dispute that might arguably turn on a question of law is non-cognizable under the
           FCRA. As the Mader Court explained, CRAs may be “required by the FCRA to
           accurately report information derived from the readily verifiable and
           straightforward application of law to facts.”

   Id. (emphasis in original). Thus, the question in Sessa, like here, has nothing to do with the legal

   import of the balloon payment or lease terms, just whether the balloon payment existed. Since it

   did not, the CRA could have easily figured that out without needing to resort to any application of

   law to facts.

           So too here. Defendants did not have to concern themselves with the validity of the

   reaffirmation agreement, only whether it existed. It did. When Defendants learned that, the FCRA

   obligated them to do something about what they were reporting so that it was maximally accurate.

   Noting on Plaintiffs’ credit files that the reaffirmation agreement existed and Plaintiffs were

   making payments pursuant to it required almost no effort by Defendants, and would have given

   them cover in the case of a lawsuit like this one. Rather than make any meaningful change,

   Defendants acted as if Ally’s interpretation of what happened to the debt in bankruptcy deserved

   more weight than Plaintiffs’. And they did that despite having other, verifiable and objective

   evidence that Plaintiffs were making payments as if the agreement existed. ECF No. 195-3 (Ex. S

   - Hays Depo) ¶ 69:17–70:7 (noting that the account was current and “paid in full”); ECF No. 195-

   1 (Ex. N – October 2021 ACDV) (noting that the account status was “current” with no past due




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   amounts). Defendants’ conclusion is based at best on conflicting information, and Chaitoff

   confirms it is inappropriate for Defendants to have reacted as they did.

          Another case in which Experian was a party and raised this same defense, Losch v.

   Nationstar Mortgage, LLC, 995 F.3d 937 (11th Cir. 2021), further supports a denial of Defendants’

   Motion. Losch involved the opposite of what is present here—the consumer claimed that he

   entered into a reaffirmation agreement relating to a debt in bankruptcy, but then withdrew that

   agreement. Id. at 941. Experian continued to report the debt as past due, and Losch disputed and

   explained that he had “rescinded the reaffirmation in 2018 and the court approved that so [he] no

   longer own this debt.” Id. Experian would not correct the inaccuracy, relying just on the furnisher’s

   responses to the ACDVs Experian sent. Id. Losch then sued Experian and the furnisher, asserting

   the same FCRA claims—Sections 1681e(b) and 1681i—against Experian as Plaintiffs do here. Id.

   The district court granted summary judgment to Experian, holding that all Experian had to do was

   notify the furnisher of the consumers’ disputes, which Experian did; Losch did not provide

   Experian with enough information for it to decide the disputes his way; and Losch’s theory of

   liability would require CRAs to review and determine the legal effect of court orders and

   documents. Id. at 941–42.

          The Eleventh Circuit reversed, finding that Experian’s reliance on just the answer of its

   furnisher, without “conduct[ing] any independent investigation” was not reasonable as a matter of

   law. Id. at 946–47 (emphasis in original). All Experian would have to do was consult the

   bankruptcy docket to confirm whether Losch indeed withdrew the reaffirmation agreement, yet it

   did not do that despite Losch’s detailed disputes showing what Experian would need to investigate.

   Id. Experian argued in Losch that his bankruptcy was “confusing and unusual,” and it could not

   reach the right conclusion after consulting the docket. Id. at 946. Here, it takes the opposite




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   approach, arguing it does not have to do anything regarding the docket, as what Ally provides is

   enough to insulate it from liability. Wrong, again.

           The Losch court also discussed Collins v. Experian Information Solutions, Inc., 775 F.3d

   1330 (11th Cir. 2015), and Dennis v. BEH-1, LLC, 520 F.3d 1066 (9th Cir. 2008), two cases that

   supported its decision. Collins likewise involved a case in which Experian relied solely on the

   furnisher for its investigation, circumstances the district and circuit found to create an issue of fact

   as to the reasonableness of Experian’s decision to disregard the information the plaintiff provided

   in favor of the verification of its furnisher. Losch, 995. F.3d at 946.

           The court characterized Dennis as “similar,” as it involved Experian reporting on the

   plaintiff’s credit that a judgment had been entered against him where, in fact, the case had been

   dismissed. Id. Experian again did nothing to investigate, relying instead on a third-party vendor

   for that. The vendor did not correct the information, but instead confirmed it. Id. The Ninth Circuit

   found reasonableness to be a jury question, as a simple check of the bankruptcy docket would have

   confirmed Experian’s and the vendor’s mistake. Id. Aligning Losch with Dennis, the court noted

   that Experian could not have known what it would have found in the bankruptcy docket without

   looking there based on what Losch provided. Yet it did not, dooming its request for summary

   judgment as to reasonableness. Id.

           This case presents the same scenario—Defendants want the Court to conclude that relying

   on the furnisher was reasonable as a matter of law when Defendants knew they had conflicting

   information about the Ally account and might have resolved the confusion by checking the

   bankruptcy docket. Defendants did not do that, or anything else, relying solely on Ally instead.

   The Court should conclude that these are not the facts to grant summary judgment to Defendants.




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          Second, and more to the point, Plaintiffs’ disputes did not require Defendants to decide if

   the reaffirmation agreement was valid. After all, the FCRA does not necessarily require

   Defendants to take that step in investigating a dispute and the information from the consumer and

   the furnisher conflicts. Instead, Section 1681i demands Defendants take other steps when they

   cannot verify information:

          (i) promptly delete that item of information from the file of the consumer, or
              modify that item of information, as appropriate, based on the results of the
              reinvestigation; and

          (ii) promptly notify the furnisher of that information that the information has been
               modified or deleted from the file of the consumer.

   15 U.S.C. § 1681i(a)(5)(A) (emphasis added). In other words, if Defendants cannot figure out

   whether the reaffirmation agreement is valid, they cannot simply soldier on—they have to modify

   the reporting or delete it. Here, Defendants did neither, despite acknowledging their inability to

   determine who was right—Plaintiffs or Ally. The FCRA, however, does not contain a provision

   that applies to “ties”—the CRA must continue to meet the maximum-possible-accuracy demand.

   Modification of the Ally account in Plaintiff’s credit file would at least have brought the reporting

   in line with Chaitoff, a case Experian knows about because the same Counsel represents it here as

   did there, yet Experian seems to have not taken anything from that holding. But modification is

   not all Defendants could have, or should have, done. They could have rightly deleted the account

   as an alternative. 15 U.S.C. § 1681(a)(5)(A); Hines v. Equifax Info. Servs., LLC, No. 19-cv-6701

   (RPK) (RER), 2022 WL 2841909, at *21 (E.D.N.Y. July 16, 2022) (“If disputed information is

   found to be inaccurate or incomplete, or if it cannot be verified pursuant to a reinvestigation, it

   must be deleted from the consumer’s credit report.”). Doing nothing does not meet the FCRA’s

   accuracy requirement or reasonable-investigation demand. Defendants are therefore not entitled to

   summary judgment on the accuracy element of either claim.



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          B.      Defendants Also Cannot Rely On The “Bankruptcy Is Hard” Defense As A
                  Reason To Habitually Violate The FCRA.

          There is no requirement in the FCRA that anyone—creditors, the credit bureaus, or

   courts—engage in credit reporting. Defendants earn billions every year trading information about

   consumers that the consumers have no hand in providing or controlling. Yet, they pepper their

   brief with complaints of “the legal and factual complexity inherent in consumer bankruptcies,”

   “the FCRA and legal precedent does not require the CRAs to determine the validity of a complex

   legal documents such as reaffirmation agreement in a bankruptcy proceeding,” and “determining

   whether there is an enforceable contract between a furnisher and a consumer turns on complex

   questions of bankruptcy law that far ‘exceed[ ] the competencies of consumer reporting agencies.’”

   (ECF 186 at 5, 10 n.5, 18.) Perhaps if this area of law is so complex and difficult, Defendants

   should stop including it in the reports they make so much money selling.

          The rigor required of a CRA by § 1681e(b) is well-recognized. As the Federal Trade

   Commission (“FTC”) long ago explained, the “provision require[s] reporting agencies to do

   whatever is reasonable under the circumstances to minimize the chances that consumers will be

   harmed by inaccurate reporting.” Matter of Equifax, Inc., 96 F.T.C. 844, 1980 WL 338977, at *142

   (F.T.C. Dec. 15, 1980). “If an agency employs a procedure which does not offer the best assurance

   of producing the most accurate reports, it ought to have a strong justification for doing so.” Id.

   More recently, yet still long enough ago for Experian to have changed its procedures, another court

   reiterated those duties, explaining,

          In recognition of the critical role that CRAs play in the credit markets and the
          serious consequences borne by consumers because of inaccurate information
          disseminated in consumer credit reports prepared by CRAs, Congress placed on a
          CRA what can only be described as very high legal duties of care, set forth, as they
          apply to this case, in 15 U.S.C. §§ 1681e(b), 1681i(a)(1)(A), and 1681i(a)(3)(A).
          Section 1681e(b) sets forth the CRAs’ overall duly:




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          (b) Accuracy of report. Whenever a consumer reporting agency prepares a
          consumer report it shall follow reasonable procedures to assure maximum possible
          accuracy of the information concerning the individual about whom the report
          relates.

   Burke v. Experian Info. Sols., Inc., No. 1:10-cv-1064 AJT/TRJ, 2011 WL 1085874, at *4 (E.D.

   Va. Mar. 18, 2011). The most-significant import of these instructions is that Defendants are

   statutorily obligated to get things right. If they cannot, they should stop reporting this difficult

   category of information so they can otherwise meet the maximum possible accuracy standard the

   FCRA imposes.

   II.    Genuine Issues of Material Fact Preclude Entry of Summary Judgment on the Issues
          of Whether the Plaintiffs Suffered Actual Damages.

          “In order to survive a summary judgment motion on a claim of negligent violation of the

   FCRA, a plaintiff must provide some evidence from which a reasonable fact-finder could conclude

   that she suffered actual damages as a result of the defendant’s actions.” Neclerio v. Trans Union,

   LLC, 983 F. Supp. 2d 199, 208 (D. Conn. 2013); see also Hurocy v. Direct Merchants Credit Card

   Bank, N.A., 371 F.Supp.2d 1058, 1061 (E.D. Mo. 2005) (“Actual damages under the FCRA may

   include damages for humiliation or mental distress, even if the consumer has suffered no out-of-

   pocket losses, as well as damages for injury to reputation and creditworthiness.”). That the

   Dulworths have suffered “actual damages” is an essential element of their claim for negligent

   violations of FCRA. Bruan v. Client Servs., Inc., 14 F. Supp. 3d 391, 397–98 (S.D.N.Y. 2014)

   (collecting cases holding that actual damages are a necessary element to a claim for negligent

   violation of the FCRA).

          A long, unbroken line of courts recognize that emotional distress and mental anguish are

   actual damages and the Dulworths are not required to have sought medical assistance to prove

   these types of damages. See Philbin v. Trans Union Corp., 101 F.3d 957, 963 n.3 (3d Cir.1996)




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   (“Given the amorphous nature of the damages at issue, we do not consider it necessary that [the

   plaintiff] state his damages with any greater degree of particularity.”); Casella v. Equifax Credit

   Info. Servs., 56 F.3d 469, 474 (2d Cir. 1995) (“[T]he District Court properly recognized that ‘actual

   damages’ may include humiliation and mental distress, even in the absence of out-of-pocket

   expenses.”).

          Plaintiff Brianna Dulworth has testified extensively as to the emotional distress she

   suffered and that she observed her husband suffering as a result of the credit reporting inaccuracies,

   and the Defendants’ failure to correct the inaccuracy after dispute. Specifically, Mrs. Dulworth

   testified that she suffers “high blood pressure and anxiety,” “sadness and depression,” and that she

   spoke with her medical doctor regarding the “overwhelming stress” in her life. ECF No. 194-4

   (Ex. D - Brianna Depo) ¶ 240:22–242:15. Mrs. Dulworth testified that she was frustrated with the

   dispute process with Experian and Equifax, and that the process was “exhausting.” Id. ¶ 127:4–15.

          For his part, Mr. Dulworth testified that his distress stems from “us trying to fix things, it

   never happened, so it’s very frustrating.” ECF No. 194-5 (Ex. E - May 9 Craig Depo) ¶ 135:23–

   136:9. He testified to feeling helpless that “no one” would help with correcting the misreporting.

   Id. That the misreporting of Plaintiffs’ reaffirmation with Ally continued dispute multiple disputes

   and opportunities for the Defendants to correct the error, is a classic case of emotional distress. “A

   consumer may suffer distress if he has difficulty in correcting his credit history or trouble managing

   his finances until his history is corrected; this is true regardless whether his erroneous information

   was actually published to a third party.” McKeown v. Sears Roebuck & Co., 335 F. Supp. 2d 917,

   933 (W.D. Wis. 2004) (“Other courts have routinely assumed or suggested that emotional distress

   damages are available when a party experiences a significant frustration and anxiety brought on

   by failed attempts to have the errors corrected.”).




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          Thus, the Dulworths have presented sufficient evidence of actual damages to present their

   claims for negligent violations of the FCRA to the jury. See King v. Asset Acceptance, LLC, 452 F.

   Supp. 2d 1272, 1281 (N.D. Ga. 2006) (“Plaintiff claims to have suffered emotional distress

   damages, including embarrassment, frustration, and irritability as a result of Defendant’s violations

   of the FCRA. Plaintiff has provided his testimony in support of his allegations. Based on this

   evidence, the Court cannot say, as a matter of law, that Plaintiff is not entitled to recover damages

   for emotional distress”). Summary judgment on this issue is therefore improper.

   III.   Genuine Issues Of Material Fact Exist As To The Reasonableness Of Defendants’
          Investigations Of Plaintiffs’ Disputes.

          Defendants’ factual recitation and arguments claim they were unable to, and should not be

   required to, decide whether the Account was included in or discharged by Plaintiffs’ bankruptcy

   or reaffirmed through the agreement with Ally. (ECF 186 at 17–18.) As Defendants put it:

          Plaintiffs’ claims present legal issues related to the validity of their reaffirmation
          agreement with Ally that are not suitable for resolution by Defendants. The only
          two parties to the reaffirmation agreement at issue in this case are Plaintiffs and
          Ally, and the record evidence shows that they disagreed as to whether the debt was
          discharged. Plaintiffs claim that the debt was not discharged, but Ally verified the
          debt as reporting accurately, including after this litigation was filed.

   (Id. at 18 (emphasis added, citations omitted).) Rather than take Plaintiffs’ word as to the validity

   of the reporting of the Account, which was supported by their detailed disputes (see e.g., ECF Nos.

   194-6; 194-8; 194-10; 194-12 (Exs. F; H; J; L Plt Disputes to Equifax)) and Defendants’ records

   that Plaintiffs continued to pay on the account even after the supposed discharge (ECF No. 195-3

   (Ex. S - Hays Depo) ¶ 69:17–70:7 (noting that the account was current and “paid in full”),

   Defendants took Ally’s side. But since there is no “tie goes to the furnisher” provision in the

   FCRA, unless Defendants’ own Section 1681i investigations—not Ally’s supposed investigation

   that it must independently undertake under Section 1681s-2(b)—verified that the account was




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   included in or discharged in Plaintiffs’ bankruptcy, Defendants were required by the FCRA to

   “promptly delete” it. 15 U.S.C. § 1681i(a)(5)(A)(i). Yet, despite their supposed utter inability to

   determine which party was correct, Defendants went with their paying customer, Ally. The

   reasonableness of that conduct must go to the jury. Losch, 995 F.3d at 937 (finding genuine issues

   of material fact as to Experian’s reliance on furnisher in dispute over reporting of account

   extinguished in bankruptcy, noting Experian “did nothing, although it easily could have done

   something with the information that [plaintiff] provided”) (emphasis in original); Collins, 775 F.3d

   at 1333 (11th Cir. 2015) (denying summary judgment because “an issue of material fact remained

   as to whether Experian’s investigation was reasonable when it disregarded the . . . information

   [plaintiff] provided and instead relied solely on [the furnisher] to verify the debt”); see Chaitoff,

   79 F.4th at 818 (discussing Collins and Losch, and citing their holdings favorably).

              While the term “verify” is defined as “to establish the truth, accuracy, or reality of,” and

   “to confirm or substantiate in law by oath,”2 Defendants did nothing close to this. Instead, as they

   readily admit, Equifax just transmitted Plaintiffs’ disputes to Ally and waited to see what Ally said

   in return (ECF 186 at 9–11), and Experian did nothing at all (id. at 11–13). Both scenarios confirm

   that fact issues exist as to the reasonableness of this conduct. This is particularly true in light of

   the Seventh Circuit’s long-held belief that reasonableness is a question for the jury in the majority

   of cases. Crabill v. Trans Union, L.L.C., 259 F.3d 662, 664 (7th Cir. 2001) (“The determination

   of the ‘reasonableness’ of the defendant’s procedures, like other questions concerning the

   application of a legal standard to given facts (notably negligence, a failure to exercise reasonable

   care), is treated as a factual question even when the underlying facts are undisputed. It therefore

   cannot be resolved on summary judgment unless the reasonableness or unreasonableness of the



   2
       https://www.merriam-webster.com/dictionary/verify.



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   procedures is beyond question . . . .”); Alley v. First Am. Credco, Inc., No. 05 C 2130, 2007 WL

   188036, at *5 (N.D. Ill. Jan. 19, 2007) (declining to award summary judgment because of fact

   questions as to reasonableness).

          A.      Experian Conducted No Investigations At All Because It Improperly
                  Decided—With No Real Evidence—That Plaintiffs’ Disputes Did Not Come
                  From Them.

          Experian takes the cavalier position that it did not need to do anything with Plaintiffs’

   disputes because they came from Plaintiffs’ Counsel, which Experian claims—with no genuine

   basis in fact—is a “credit repair organization.” (ECF 186 at 27.) That being supposedly true, the

   argument goes, the disputes did not come “directly” from Plaintiffs, so Experian’s Section 1681i

   investigation obligation was never triggered. (Id. at 27–29.) Experian therefore did not investigate

   those disputes as required by Section 1681i. While Experian’s arguments focus on what Experian

   thinks it knows about the similarity among letters and the processor used to actually mail them,

   there is much more to the analysis of whether a dispute came “directly” from a consumer than the

   one in which Experian engages.

          For the first quarter century after Congress enacted the FCRA, courts regularly, and

   logically, recognized that consumers’ credit-reporting disputes are often crafted with the help of

   counsel. See Pinner v. Schmidt, 805 F.2d 1258, 1262 (5th Cir. 1986) (“Once [the credit reporting

   agency] received notice of the dispute . . . from [the plaintiff’s] attorney[,] it was obligated to re-

   verify the accuracy of the delinquent entry.”); Milbauer v. TRW, Inc., 707 F. Supp. 92, 94–95

   (E.D.N.Y. 1989) (credit-reporting agencies “are not privileged to ignore a consumer’s dispute

   simply because” it was submitted by a consumer’s attorney); Cisneros v. U.D. Registry, Inc., 39

   Cal. App. 4th 548, 573 n.12 (1995) (“[A] representative working on behalf of the consumer can

   convey the consumer’s position on disputed information and the requirements of response and




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   reinvestigation [under the FCRA] apply.”). While Congress changed the language of this portion

   of the FCRA, from the FCRA’s original requirement that a credit-reporting agency conduct a

   reinvestigation of disputed information if “such dispute is directly conveyed to the consumer

   reporting agency by the consumer,” Pub. L. No. 91-508 § 611(a), to amended language providing

   that a reinvestigation must take place if “the consumer notifies the agency directly of such dispute,”

   Pub. L. No. 104-208 § 2409. This alteration is at most stylistic, as it cannot be read to meaningfully

   change a CRA’s obligation to investigate a dispute based on its origin.

           Even since the changes to the FCRA, courts have approached the “directly” modifier as

   they did before—assistance from a lawyer, family member, or even a credit-repair organization

   does not eliminate a CRA’s reinvestigation obligations. Norman v. Trans Union, LLC, 2023 WL

   2903976, at *17 (E.D. Pa. Apr. 11, 2023); Rivera v. Equifax Info. Servs., LLC, 341 F.R.D. 328,

   347 (N.D. Ga. 2022); Henry v. Freedom Mortg. Corp., 2020 WL 8921079, at *4 (D. Ariz. Apr.

   27, 2020); Cohen v. Equifax Info. Servs., 2019 WL 5200759, at *6 (S.D.N.Y. Sept. 13, 2019);

   Pfeffer v. Nat’l Credit Sys., Inc., 2017 WL 3600437, at *6 n.1 (S.D. Ohio Aug. 18, 2017); Roybal

   v. Equifax, 2008 WL 4532447, at *6 n.6 (E.D. Cal. Oct. 9, 2008); cf. Warner, 931 F.3d at 921.

   Experian hopes for a different result here, but has little to support it.

           The fundamental problem with Experian’s approach is that it makes a decision—that a

   dispute did not directly come from a consumer—without knowing anything specific about the

   consumer’s role in the submission of the dispute. And that is everything, as even Experian’s cited

   case, Warner v. Experian Information Solutions, Inc., 931 F.3d 917, 921 (9th Cir. 2019), confirms

   by its statement that the Section 1681i dispute obligation is not triggered only where the consumer

   plays almost no role in the dispute process. (ECF 186 at 28.) Here, by contrast, Plaintiffs were

   meaningfully involved in the creation of their disputes and directed their Counsel to submit them




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   to the CRAs. ECF No. 194-4 (Ex. D [Brianna Depo] ¶ 115:16–116:10) (“I gave them information.

   They communicated often. We did paperwork together. I signed. They sent.”).

          What is more, Experian did not learn anything that could rationally support its decision

   about Plaintiffs’ disputes until it took Plaintiffs’ depositions after they sued. It can therefore say

   little about the propriety of the conclusion that the disputes came from a credit repair organization,

   as not only was it wrong at the time Experian made it, and it remains wrong even after Experian

   had the chance to ask Plaintiffs about it.

          In sum, genuine issues of material fact exist as to whether Experian reasonably investigated

   Plaintiffs’ disputes. The Court should therefore deny summary judgment on this claim.

          B.      Equifax Has Not Shown Its Investigations Were Reasonable As A Matter Of
                  Law Because All Equifax Did Was Transmit The Disputes To Ally And Wait
                  For Ally’s Response.

                  1.      Regardless of what Ally was telling Defendants, they have their own
                          FCRA obligations to investigate and verify information.

          Nothing in the FCRA permits CRAs to shirk their investigation responsibilities in favor of

   simply regurgitating what a furnisher tells the CRA about an account. Here, rather than take

   Plaintiffs’ word as to the validity of the reporting of the Account, which was supported by their

   detailed disputes and Defendants’ records that Plaintiffs continued to pay on the account even after

   the supposed discharge (ECF No. 195-3 (Ex. S - Hays Depo) ¶ 69:17–70:7), Defendants took

   Ally’s. That approach was improper as explained above and highlighted by Losch, Dennis, and

   Collins, but there is yet more to address.

          While the term “verify” has legal heft and is meaningful in the FCRA context, Equifax

   readily admits that it just transmitted Plaintiffs’ disputes to Ally and waited to see what Ally said

   in return (ECF 186 at 9–11), and Experian did nothing as discussed just above (id. at 11–13). Both

   scenarios confirm that fact issues exist as to the reasonableness of this conduct.



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            Equifax argues that its dispute investigations—just sending ACDVs to Ally and doing

   nothing other than waiting for a response—were reasonable because “the ACDV approach has

   been upheld as a matter of law by other courts.” (ECF 186 at 25 (collecting cases).) That is wrong,

   as Equifax’s cited cases confirm. Shannon v. Equifax Information Services, LLC, 764 F. Supp. 2d

   714, 725–26 (E.D. Pa. 2011), did not hold the ACDV process was reasonable as a matter of law.

   It held the opposite—“[the court] will similarly submit Equifax’s § 1681i(a) claim to a jury.” Id.

   at 724. Benson v. Trans Union LLC, 387 F. Supp. 2d 834, 843 (N.D. Ill. 2005) is no more helpful,

   as it merely held that Trans Union’s use of the ACDV process was sufficient because Benson did

   not show what other information a more-robust investigation would have turned up. Id. at 843.

   Perry v. Experian Info. Solutions, Inc., No. 05-1578, 2005 WL 2861078, at *5 (N.D. Ill. Oct. 28,

   2005), is similar, as there the court found the use of ACDVs as lone form of investigation by

   Experian was reasonable “based on the scant information [the consumer] provided” with his

   disputes.3

            Equifax also does not address a key difference between this case and the others it cites—

   here, Equifax was on notice that Ally could not be trusted as a furnisher when it comes to

   reaffirmation agreements. That lack-of-reliability notice came from two sources: Plaintiffs,

   through their multiple, detailed disputes, and the litigation of Myers v. Equifax Info. Servs., LLC,

   No. 1:20-cv-00392-JMS-DLP, 2022 WL 4292179, at *1 (S.D. Ind. Sept. 16, 2022), a case on

   which Defendants rely heavily. Despite being let off the hook in Myers, these Defendants were




   3
     The remaining cases are not as much assistance as Equifax hopes. Morris v. Trans Union LLC, 420 F. Supp. 2d 733,
   756 (S.D. Tex. 2006), aff’d, 224 Fed. Appx. 415 (5th Cir. 2007), was a case with a single dispute, not multiple disputes
   like this case, Anderson v. Trans Union LLC, 367 F. Supp. 2d 1225, 1233 (W.D. Wis. 2005), involved a disputed
   inaccuracy that was corrected after one dispute, and Schmitt v. Chase Manhattan Bank, N.A., No 03-3295, 2005 WL
   2030483, at *3 (D. Minn. Aug. 23, 2005), was a case wherein the furnisher and CRA made multiple mistakes in failing
   to correct inaccurate notation the consumer was deceased.



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   certainly aware that Ally did not know what it was doing when consumers entered into

   reaffirmation agreements with it. Plaintiffs’ disputes here confirm that.

          The facts here also distance this case from Myers, as that case did not involve any disputes

   of the Ally reporting. Myers, 2022 WL 4292179, at *6–8 (“Mr. Myers never disputed his Ally

   account with Equifax. . . . Mr. Myers never submitted a dispute to Experian regarding the reporting

   of the Ally account and never provided Experian with a copy of the Ally reaffirmation agreement.

   . . . Mr. Myers never contacted Trans Union regarding the reporting of the Ally account.”).

   Plaintiffs’ multiple disputes place this case much further from Myers than Defendants would have

   the Court conclude.

          The Seventh Circuit has long recognized that notice of inaccuracies changes how CRAs

   and furnishers must approach disputes:

          A credit reporting agency that has been notified of potentially inaccurate
          information in a consumer’s credit report is in a very different position than one
          who has no such notice. As we indicated earlier, a credit reporting agency may
          initially rely on public court documents, because to require otherwise would be
          burdensome and inefficient. However, such exclusive reliance may not be justified
          once the credit reporting agency receives notice that the consumer disputes
          information contained in his credit report.

   Henson v. CSC Credit Servs., 29 F.3d 280, 286 (7th Cir. 1994). While Defendants will certainly

   point out that Henson was decided at the Rule 12(b)(6) stage and not summary judgment, courts

   within this Circuit have nonetheless applied it in the summary judgment context. Salem v. Legal

   Liaison Serv., No. 16-cv-3927, 2019 WL 1057371, at *5 (N.D. Ill. Mar. 6, 2019) (finding reliance

   on ACDVs alone was insufficient to comply with Section 1681i because the plaintiff provided

   sufficient information to put Equifax on notice that the furnisher was supplying inaccurate

   information); see Ruffin-Thompkins v. Experian Info. Sols., Inc., 422 F.3d 603, 608 (7th Cir. 2005)

   (discussing Henson in an appeal of a summary-judgment ruling, and noting “[b]ecause Experian




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   had no reason to believe that U.S. Bank was an unreliable source, Experian’s period of liability

   did not begin until December 23, 2002, when it received notice of [plaintiff]’s dispute”). These

   courts are not alone, as it is largely recognized that “where a CRA is affirmatively on notice that

   information received from a creditor may be suspect, it is unreasonable as a matter of law for the

   agency to simply verify the creditor’s information through the ACDV process without additional

   investigation.” Bradshaw v. BAC Home Loans Servicing, LP, 816 F. Supp. 2d 1066, 1073–74 (D.

   Or. 2011) (collecting cases from the Third and Ninth Circuits so holding).

          Courts applying Henson look at two factors to determine whether the CRA was duty bound

   to look at more than what the furnisher was telling it: (1) whether the Plaintiffs informed the CRAs

   that Ally may have been an unreliable source or the CRAs knew or should have known that; and

   (2) the cost to the CRA of verifying the accuracy of the information versus the possible harm the

   inaccurate information could have caused Plaintiffs. Bagby v. Experian Info. Sols., Inc., 162 F.

   App’x 600, 606 (7th Cir. 2006). Defendants do not discuss either factor, other than to say they had

   no reason to believe Ally was an unreliable furnisher. (ECF 186 at 24.) This lack of analysis

   confirms there are issues of fact as to whether Defendants should have done more with their

   investigations.

          On the first point, Defendants argue just that because a sample of 300 consumers’

   bankruptcy files that contained Ally accounts in Myers revealed just one error, Ally is per se

   reliable. (ECF 186 at 24.) But there is no discussion of whether any of those accounts involved

   reaffirmation agreements, as did Myers and this case. Since between Myers and Plaintiffs the

   CRAs had at least three examples of Ally furnishing questionable information about accounts to

   which those agreements applied, Defendants were on notice of this specific, identifiable problem

   with this exact furnisher.




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          Regarding the cost of verification, the second element of the test, Defendants offer nothing

   solid about that it would take to verify with Ally whether Plaintiffs’ agreements were valid. (See

   ECF 186 at 24.) Defendants therefore resort to hyperbole, arguing “Plaintiffs’ suggestion that

   Defendants should independently review all information provided by furnishers would be

   untenable and at odds with Congress’s goal of creating a credit-reporting system suitable for

   ‘meeting the needs of commerce.’” (Id.) That of course is not what Plaintiffs suggest. Instead,

   Plaintiffs’ focus is on verifying just the challenged information, which the FCRA requires that

   Defendants do when consumers dispute. 15 U.S.C. § 1681i. Defendants provide nothing for the

   Court to consider that establishes such an inquiry would be prohibitively costly as a matter of law.

   And, as explained above, Defendants always have the option to delete information they cannot

   verify, an option that costs virtually nothing. Based on Defendants’ failure to meaningfully discuss

   and address these factors, the Court should decline to grant summary judgment on them.

          What Defendants engaged in by sending the ACDVs to Ally and waiting to see its

   responses as a proxy for their Section 1681i investigations is what courts refer to as “parroting.”

   As one court put it: “The FCRA imposes on CRAs a ‘grave responsibility’ to refrain from ‘merely

   parroting information received from other sources’ where a consumer has alerted it to the

   possibility that a creditor may be unreliable.” Choudhury v. Citibank, N.A., No. 18-cv-02188 (RJD)

   (ST), 2018 WL 11447942, at *5 (E.D.N.Y. Dec. 7, 2018) (citing Cushman v. Trans Union Corp.,

   115 F. 3d 220, 225 (3d Cir. 1997) and Henson, 29 F.3d at 286–87). This outcome is entirely logical,

   given the long-held notion that “[i]n a reinvestigation of the accuracy of credit reports, a credit

   bureau must bear some responsibility for evaluating the accuracy of information obtained from

   subscribers.” Stevenson v. TRW Inc., 987 F.2d 288, 293 (5th Cir. 1993). Certainly, where

   Defendants are on notice from multiple disputes from consumers and other litigation involving the




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   same problem and furnisher, they must do more than simply sit on their hands and await the

   unreliable furnisher’s response. Crump v. Carrington Mortg. Servs., LLC, No. 18 C 2302, 2019

   WL 118490, at *6 (N.D. Ill. Jan. 7, 2019) (“Once a CRA receives notice that information in a

   consumer report may be inaccurate, ‘the statutory duty [to reinvestigate under § 1681i(a)(1)]

   click[s] in, and at that point the continued sending of [the contested information] to creditors might

   be viewed as a failure to maintain reasonable procedures for assuring accuracy’ under §

   1681e(b).”) (quoting Crabill v. Trans Union, L.L.C., 259 F.3d 662, 664 (7th Cir. 2001), alterations

   in original); see also Losch, 995. F.3d at 946; Collins, 775 F.3d at 1331–33; Dennis, 520 F.3d at

   1068–70.

   IV.    Defendants Have Not Shown As A Matter Of Law That A Jury Could Not Conclude
          They Acted Willfully In Violating Section 1681e(b).

          Courts in this Circuit generally hold that willfulness is ill-suited for summary judgment

   because it involves consideration of Defendants’ state of mind. Fickel v. Clearwater Credit Union,

   No. 21-cv-798-SMY, 2023 WL 2456116, at *3 (S.D. Ill. Mar. 10, 2023) (“And whether

   Clearwater’s investigation or protocol may qualify as a willful violation giving rise to statutory or

   punitive damages is an issue for a jury as well.”); Searcy v. eFunds Corp., No. 08 C 985, 2010 WL

   3894165, at *6 (N.D. Ill. Sept. 30, 2010) (denying motion for summary judgment on willfulness,

   and collecting cases supporting the conclusion that willfulness is a jury question). This case should

   follow that logical conclusion.

          A.      Following The White Injunction Does Not Save Defendants As A Matter Of
                  Law.

          Defendants’ principal argument is that their conduct was not willful because they applied

   the requirements of an agreed-upon injunction entered in earlier litigation styled White v. Experian

   Information Solutions, Inc., No. 8:05-cv-01070, 2008 WL 11518799 (C.D. Cal. Aug. 19, 2008).




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   (ECF 186 at 30–31.) That order required Defendants to do several things relating to post-

   bankruptcy debts, including “assume that certain categories of pre-bankruptcy consumer debts

   have been discharged in Chapter 7 bankruptcies based on the statistical likelihood of discharge of

   these categories of debt, and without either the affected creditors or Consumers reporting the debt

   to Defendants as having been discharged.” White, 2008 WL 11518799, at *13, ¶ 5.1. As

   Defendants note, this requires them to scrub and “automatically update qualifying pre-bankruptcy

   debts to report as discharged in bankruptcy without being asked to do so by either a creditor or

   consumer.” (ECF 186 at 30.) But, as Defendants further note, “the White Injunction provides only

   a default rule: when a furnisher reports that a consumer has discharged a debt in bankruptcy, the

   information supplied by the furnisher controls.” (Id. at 30–31.) Put another way, as Defendants

   explain earlier in their brief, “[t]he scrub was not triggered in this case because Ally was already

   reporting Plaintiffs’ account as included in their Chapter 7 bankruptcy.” (Id. at 6.) So, Defendants

   did nothing to “comply” with the White Injunction because, in their view, nothing was required

   because Ally was reporting the debt the way it was.

          Defendants claim that “courts have consistently found [ ] compliance with the White

   Injunction defeats a consumer’s willfulness claims.” (Id. at 31 (collecting cases).) The problem

   with this argument and the cases Defendants cite to underpin it is fundamental—Defendants did

   not do anything the White Injunction required other than listen to their furnishers’ reporting of the

   debt in the first instance. That is much different from, for example, complying with the scrub

   aspect of the Injunction only to be told by the consumer that the reporting was inaccurate. In that

   circumstance, Defendants could plausibly claim they were relying on the requirements of the

   Injunction, a prior court order, so there is nothing wrong with having done that in favor of what

   the consumer was telling them. Here, things are different because the Injunction does not say, and




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   Defendants do not meaningfully argue, that they are without FCRA liability if they repeatedly

   adopt their furnisher’s and reject the consumer’s view of how a debt is to be reported post-

   bankruptcy. All the Injunction says about the way Ally was originally reporting the account is

   Defendants do not have to scrub that data. The Injunction does not say that Defendants are free to

   disregard their FCRA accuracy and investigation duties if a consumer tells them something about

   a post-bankruptcy debt.

           Defendants’ cited cases bear this conclusion out. None of them deal with a situation like

   this one, where they had no need to scrub the data from the furnisher. Instead, the majority of cases

   deal with how something was reported post-scrub. Coleman v. Experian Info. Sols., Inc., __ F.

   Supp. 3d __, No. 1:21-cv-1095-CAP, 2023 WL 2366609, at *3 (N.D. Ga. Feb. 6, 2023); Lynch v.

   Experian Info. Sols., Inc., No. 20-cv-2535 (KMM/JFD), 2022 WL 16857078, at *9 (D. Minn. Nov.

   10, 2022); Ferrin v. Experian Info. Sols., Inc., 617 F. Supp. 3d 998, 1002 (D. Minn. 2022); Beers

   v. Experian Info. Sols., Inc., No. 20-cv-1797 (WMW/JFD), 2022 WL 891620, at *1 (D. Minn.

   Mar. 25, 2022); Laura v. Experian Info. Sols., Inc., No. 20-cv-01573, 2022 WL 823853, at *1

   (N.D. Ill. Mar. 18, 2022); Benjamin v. Experian Info. Sols., Inc., 561 F. Supp. 3d 1330, 1348 (N.D.

   Ga. 2021), motion for relief from judgment denied, No. 1:20-cv-2466-RWS, 2022 WL 1690539

   (N.D. Ga. Mar. 21, 2022).4 These decisions are even less helpful to Defendants because, as the



   4
      Two cases decided by the same judge, Peterson v. Experian Information Solutions, Inc., No. CV 20-606
   (DSD/ECW), 2021 WL 3116073, at *4 (D. Minn. July 22, 2021), aff’d sub nom. Peterson v. Experian Information
   Solutions, 44 F.4th 1124 (8th Cir. 2022) and Campbell v. Experian Information Solutions, Inc., No. CV 20-
   2498(DSD/BRT), 2022 WL 3716982, at *6 (D. Minn. Aug. 29, 2022), do not explain what aspect of the White
   Injunction Experian applied to the plaintiffs’ credit files. They therefore add little to the analysis.
            Three other cases, again decided by the same judge (although a different judge than Peterson and Campbell),
   Hernandez v. Experian Information Solutions, Inc., Sunseri v. Experian Information Solutions, Inc., and Wheeler v.
   Trans Union LLC, saw the Ninth Circuit reverse Experian’s victories on motions to dismiss. Hernandez, No. LA CV
   20-09908-DOC (RAOx), 2021 WL 2325019, at *4 (C.D. Cal. June 4, 2021), rev’d & remanded, No. 21-55588, 2022
   WL 1315306 (9th Cir. May 3, 2022); Sunseri, No. LA CV 20-08932-DOC (RAOx), 2021 WL 2327934, at *3 (C.D.
   Cal. June 4, 2021), rev’d & remanded, No. 21-55583, 2022 WL 1315303 (9th Cir. May 3, 2022); Wheeler, No. LA
   CV 20-11710 DOC (RAOx), 2021 WL 2290575, at *4 (C.D. Cal. June 4, 2021), rev’d & remanded sub nom. Wheeler
   v. Experian Info. Sols., Inc., No. 21-55585, 2022 WL 1315301 (9th Cir. May 3, 2022).



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   Ferrin court noted, “[t]he Ninth Circuit recently addressed the White Order in three cases [Sunseri,

   Wheeler, and Hernandez], explaining that ‘[r]easonableness is not a static issue, and procedures

   that met the high bar of [Section] 1681e(b) fourteen years ago may not today.’” Ferrin, 617 F.

   Supp. 3d at 1007 (first two alterations added). The Ferrin court is not alone, with a subsequent

   decision declining to grant Experian summary judgment on willfulness, where Experian argued it

   complied with the White Injunction. Bailey v. Experian Info. Sols., Inc., No. 1:21-cv-00465-BLW,

   2023 WL 6317443, at *10 (D. Idaho Sept. 28, 2023) (noting this same quote from the Ninth Circuit,

   and refusing to grant summary judgment on willfulness as to one account Experian argued was

   scrubbed as provided by the White Injunction). In those cases, then, the CRAs manipulated the

   bankruptcy data in a way that complied with the requirements of the Injunction. Yet, in Bailey they

   did not prevail on willfulness. Here, they did not do anything to the bankruptcy data, even after

   Plaintiffs disputed. Simply citing to White and claiming to have followed it is not enough to

   establish a lack of willfulness, particularly where, like here, Defendants offer solely that argument

   and no on-point case in support.

          B.      Defendants Have Not Shown What Reading Of The FCRA They Adopted And
                  Applied To The Reporting Of Plaintiffs’ Ally Account.

          The Supreme Court established the standard for FCRA willfulness in Safeco Insurance

   Company of America v. Burr, 551 U.S. 47 (2007). Though Safeco came down in 2007, the Court

   recently revisited that decision’s willfulness analysis in United States ex rel. Schutte v. SuperValu

   Inc., 598 U.S. 739, 747 (2023). That case, brought under the False Claims Act, considered whether

   pharmacies who submitted claims for reimbursement for drugs provided to Medicare or Medicaid

   insureds falsely certified those claims as true when the disclosed a higher price for the drugs than

   the insureds allegedly actually paid. Id. at 744–46. According to the plaintiffs, the pharmacies ran

   a discount program that was popular enough that its discounted prices became, by default, the



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   pharmacies’ “usual and customary” prices. Id. at 745–46. Yet, plaintiffs claimed, when the

   pharmacies sought Medicare or Medicaid reimbursement and were required to submit their “usual

   and customary” prices, they allegedly used the higher, non-discounted prices. Id. at 746–47. If

   plaintiffs were correct, these claims for reimbursement violated the FCA.

          Under the FCA, liability attaches when one “knowingly presents . . . a false or fraudulent

   claim for payment or approval.” 42 U.S.C. § 3729(a)(1)(A). Such a claim has two elements: “(1)

   the falsity of the claim and (2) the defendant’s knowledge of the claim’s falsity.” Schutte, 598 U.S.

   at 747. In Schutte the pharmacies prevailed on summary judgment, with the district court finding

   the claims submitted were indeed false because they reflected the non-discounted prices but that

   the pharmacies did not act “knowingly.” Id. The Seventh Circuit affirmed, relying “heavily” on

   the Safeco willfulness analysis. Id. at 748. As the Supreme Court explained:

          [T]he Seventh Circuit read Safeco to dictate a two-step inquiry for ascertaining
          whether a defendant acted recklessly or knowingly. At step one, the Seventh Circuit
          took Safeco to ask whether a defendant's acts were consistent with any objectively
          reasonable interpretation of the relevant law that had not been ruled out by
          definitive legal authority or guidance. This step, the Seventh Circuit held, applied
          regardless of whether the defendant actually believed such an interpretation at the
          time of its claims. Only if the defendant’s acts were not consistent with any
          objectively reasonable interpretation would the court proceed, at step two, to
          consider the defendant’s actual subjective thoughts. Thus, under the Seventh
          Circuit’s approach, a claim would have to be objectively unreasonable, as a legal
          matter, before a defendant could be held liable for “knowingly” submitting a false
          claim, no matter what the defendant thought.

   Id. The Seventh Circuit affirmed the grants of summary judgment, finding that the pharmacies’

   conduct was “consistent with an objectively reasonable interpretation of the phrase ‘usual and

   customary.’” Id. The court held the pharmacies could have interpreted the phrase to mean their

   non-discounted prices, even if the correct understanding meant the discounted prices. Id. The

   Seventh Circuit believed that what mattered instead “was that someone else, standing in [the

   pharmacies]’ shoes, may have reasonably thought that the retail prices were what counted.” Id.



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          The Supreme Court granted review, framing the question presented as:

          If respondents’ claims were false and they actually thought that their claims were
          false—because they believed that their reported prices were not actually their
          “usual and customary” prices—then would they have “knowingly” submitted a
          false claim within the FCA's meaning? Or is the Seventh Circuit correct—that
          respondents could not have “knowingly” submitted a false claim unless no
          hypothetical, reasonable person could have thought that their reported prices were
          their “usual and customary” prices?

   Id. at 748–49. After discussing the scienter element of the FCA, the Court turned to Safeco and the

   pharmacies’ argument that an objective analysis of their conduct controlled. Id. at 743.

          The Court rejected that argument, holding that “Safeco did not purport to set forth the

   purely objective safe harbor that respondents invoke.” Id. at 755. Rather, the Court explained,

   “Safeco stated that a person is reckless if he acts ‘knowing or having reason to know of facts which

   would lead a reasonable man to realize’ that his actions were substantially risky.” Id. (quoting

   Safeco, 551 U.S. at 69, emphasis in original). The Court also noted Safeco’s alternative

   explanation, “the common law of recklessness contained an objective standard because it

   encompassed actions involving ‘an unjustifiably high risk of harm that is either known or so

   obvious that it should be known.’” Id. (emphasis in original). The Court concluded:

          Thus, as we have stated previously, “[n]othing in Safeco suggests that we should
          look to facts that the defendant neither knew nor had reason to know at the time he
          acted.” By a similar token here, we do not look to legal interpretations that
          respondents did not believe or have reason to believe at the time they submitted
          their claims.

   Id. at 755 (emphasis added, citation omitted). Thus, the defendant’s particular understanding, or

   “reading” as Safeco and Schutte put it, of the statute at issue means everything regarding the

   defendant’s state of mind.

          Schutte confirms that context matters. And it matters more when considering a party’s state

   of mind at some point in the past. Defendants’ Motion argues, essentially, “we followed the White




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   injunction” as to Section 1681e(b) and, for Experian, “we thought Plaintiffs did not draft their

   disputes” as to Section 1681i, so they could not have acted willfully. (ECF 186 at 27–28, 30–31.)5

   Yet, as the Supreme Court pointed out in Schutte, whether there is now something Defendants’

   counsel has unearthed that it can argue objectively supports what Defendants did, that does not

   preclude a finding that Defendants still knew what they were doing violated the FCRA. Schutte,

   598 U.S. at 754–55. And, of course, Defendants must show they had some reading of the FCRA

   they adopted as a defense to willfulness. They have not done so.

              Defendants’ Motion bears this analysis out. They spill considerable ink explaining

   authorities they claim support the inaccurate reporting and investigations Experian did not do, but

   they do not show that they considered any of these things when they implemented the systems to

   which Plaintiffs were subjected. Safeco, as refined by Schutte, requires that showing yet

   Defendants fail to make it. They do not even try. In other words, Defendants ask the Court to grant

   them summary judgment based on facts or legal authorities Defendants do not show they

   considered (or even knew about) at the time they implemented the reporting and investigation

   systems at issue. Schutte, 598 U.S. at 755. The Court should not.

              C.      Defendants Have Not Shown Willfulness Lacking As A Matter Of Law As To
                      Their Perfunctory Investigations Of Plaintiffs’ Disputes.

                      1.       Experian has not proven as a matter of law that no reasonable jury
                               could find it was willful in failing to investigate Plaintiffs’ disputes.

              With the overarching, substantive failure on willfulness for both Defendants set forth

   above, there is little else to discuss on the point. Experian bases the entire argument on the falsity

   that Plaintiffs’ Counsel is a credit repair organization, an issue on which it has no proof, even now,

   and therefore Experian was entitled to disregard those disputes entirely. (ECF 186 at 27–28.) These



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       Equifax does not move for summary judgment on the willfulness aspect of Section 1681i.



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   arguments—that its mail sorting complied with some un-revealed standard and therefore was not

   willful, is not even supported by Experian’s hand-crafted evidence.

          At the outset, there is a meaningful difference between the requirement that Experian

   investigate a dispute, and the problem Experian claims will result without its mail-sorting policy—

   the providing of consumer reports “to third parties who lack a permissible purpose.” (ECF 186 at

   29.) Section 1681i requires Experian to investigate all disputes that come from consumers, 15

   U.S.C. § 1681i, and nothing permits Experian to inject false barriers into that process. Experian

   can accomplish the investigation requirement and determine whether it is providing the results to

   the correct consumer after it has investigated. Instead, Experian has chosen a cost-reducing option

   that it believes allows it to forego disputes entirely when, in reality, it could investigate and then

   confirm the identity of the person to whom it is providing the results.

          Under these circumstances, a reasonable jury could conclude that Experian recklessly

   violated Section 1681i by relying on some unspecified mail sorting process to inaccurately

   conclude that Plaintiffs’ dispute letters did not come from Plaintiffs. Experian’s own declarant

   cannot explain any specifics that led to Experian’s conclusions about the letters, providing such

   bland explanations as “Experian employees examine outside envelopes and compare them to other

   mail received, as credit clinics tend to send their mail in bulk, with similar features apparent from

   the outside.” (ECF 183-3 ¶ 22.) What features are those—are they things impossible to be

   reproduced except by a bulk-mailing house? Or what are the “indications of third-party mail,

   including that the dispute letters were sent by a third-party mailing house and appeared to have

   been prepared by someone other than Plaintiffs”? (Id.) No one knows, apparently, but Experian

   would have the Court conclude that Experian has imposed an ironclad, error-free system for

   identifying such mail that should be interpreted to eminently trustworthy without the need to truly




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   discuss the details regarding how the system works, what parameters Experian’s employees apply

   in making decisions under the policy, error rate, or anything that would allow the Court to

   meaningfully analyze it. Nothing about Experian’s argument convincingly rules out that by

   instituting a process for identifying mail that supposedly comes from someone other than a

   consumer—without any outside verification such as from the consumer himself—Experian “ran a

   risk of violating the law substantially greater than the risk associated with a reading that was merely

   careless.” Safeco, 551 U.S. 47 at 50.

          Separately, yet just as meaningful, nothing to which Experian points conclusively

   establishes that it did not knowingly violate Section1681i. After all, resorting to its mail-sorting

   protocol could be a move aimed entirely at cost saving—fewer disputes processed means fewer

   dollars Experian sinks into that process. So if Experian has a pretextual reason to cull some number

   of disputes from the list of those it actually investigates, it spends less money. Just as with

   recklessness, nothing Experian provides about its shadow mail-sorting process confirms that

   Experian implemented it and did not know doing so would violate Section 1681i.

          Experian’s summary-judgment loss on willfulness in Ricketson v. Experian Information

   Solutions, Inc., 266 F. Supp. 3d 1083, 1095 (W.D. Mich. 2017), confirms willfulness should go to

   the jury here. In Ricketson, the plaintiff-consumer disputed inaccurate credit information to

   Experian in writing, and Experian, like here, determined that letter to be “suspicious” as not

   coming from plaintiff, and did no Section 1681i investigation at all. Id. at 1086–87. Unlike here,

   Experian claimed its conclusion that the letter was suspicious was a mistake, yet—in keeping with

   its suspicious mail policy—it sent Ricketson a letter stating it had received a suspicious letter and

   stated it would not investigate, and asked him to call Experian if he was truly needing to dispute a




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   debt. Id. at 1087. Experian later removed the tradeline on its own, but did not inform Ricketson

   that it did. Id. Ricketson sued, alleging Section 1681e(b) and 1681i claims.

          On summary judgment, Experian claimed its application of the suspicious letter process to

   Ricketson’s dispute was a mistake and therefore could not be willful. Id. at 1095. Ricketson argued

   that there were jury questions about “whether [Experian]’s policies and procedures for handling

   and sorting ‘suspicious’ mail render its conduct reckless in light of § 1681i’s requirements, and

   therefore willful.” Id. at 1095–96. In discussing the competing arguments, the court noted that

   Experian “did not simply ignore Plaintiff's letter after receiving it” but, instead, tried to contact

   Ricketson and determine its authenticity. Id. at 1096. The court sided with Ricketson on summary

   judgment as to willfulness, finding Experian’s claim of mistake was not shown to be a violation

   of its policies and procedures and, moreover, that Experian did not explain how the policy was an

   objectively reasonable way to discharge its responsibilities to investigate under Section 1681i. Id.

          Experian’s conduct here differs slightly from Ricketson in that Experian simply threw

   Plaintiffs’ disputes in the trash and performed no investigation at all. (ECF 183-3 ¶ 22.) Yet, like

   Ricketson, Experian has not explained how its insufficiently detailed mail-sorting policy assists it

   in discharging its Section 1681i duties. (See ECF 186 at 28–29.) And, more importantly, Experian

   has not even proven as a matter of law that its mail-sorting policy caused the lack of investigation

   of Plaintiffs’ disputes. Rather, as its witness notes, “Plaintiffs’ dispute letters contained such

   indications of third-party mail, including that the dispute letters were sent by a third-party mailing

   house and appeared to have been prepared by someone other than Plaintiffs, and, accordingly,

   were likely not processed for reinvestigation.” (ECF 183-3 ¶ 22 (emphasis added).) Certainly, to

   achieve summary judgment as to willfulness on this point, Experian must prove what it actually

   did with Plaintiffs’ letters, other than fail to investigate after receiving them. “Likeliness” of




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   something cannot carry the day on summary judgment, as all reasonable inferences go to Plaintiffs,

   not Experian. But in line with Ricketson, Experian has failed to show how its mail-sorting policy

   allows it to meet its Section 1681i investigation mandates. This failure by Experian should not

   result in a summary judgment in its favor as to willfulness.

                     2.       Equifax likewise fails to establish that no reasonable jury could find its
                              complete reliance on Ally was willful.

            As also noted above, Equifax has not moved for summary judgment on the willfulness

   element of Plaintiffs’ Section 1681i claim. The Court therefore should not grant Equifax’s Motion

   as to that element. Kreg Therapeutics, Inc. v. VitalGo, Inc., 919 F.3d 405, 416 (7th Cir. 2019)

   (noting “[t]he district court could not have erred by not granting summary judgment on grounds

   that VitalGo failed to raise.”).6

                                                      CONCLUSION

            For the reasons set forth above, the Court should deny Defendants’ Motion for Summary

   Judgment.

   Dated: November 3, 2023                               Respectfully submitted,

                                                         By:    /s/ Michael Rapp
                                                         Michael H. Rapp
                                                         Matthew S. Robertson
                                                         STECKLEIN & RAPP CHARTERED
                                                         748 Ann Avenue, Suite 101
                                                         Kansas City, Kansas 66101
                                                         Phone: (913) 371-0727
                                                         Fax: (913) 371-0727
                                                         Email: mr@kcconsumerlawyer.com
                                                                msr@kcconsumerlawyer.com


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     Equifax will no doubt claim that the sentence “Defendants move for summary judgment on Plaintiffs’ claims that
   they allegedly violated § 1681e(b) and willfully violated § 1681e(b) and § 1681i of the FCRA” (ECF 186 at 15) means
   that it has moved on willfulness as to Section 1681i, but nowhere in Defendants’ brief is there any actual argument by
   Equifax on Section 1681i willfulness. (See generally id.) The Court should therefore decline to conclude that this lone
   statement contains sufficient factual support to garner summary judgment for Equifax on that element. James M. v.
   Saul, No. 20-cv-183, 2021 WL 2820532, at *2 (S.D. Ind. July 7, 2021) (noting “perfunctory and undeveloped
   arguments are waived”).



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                                      John T. Steinkamp, #19891-49
                                      JOHN STEINKAMP
                                      5214 South East Street, Suite D-1 Indianapolis,
                                      Indiana 46227
                                      (317) 780 -8300
                                      john@johnsteinkampandassociates.com

                                      Leonard A. Bennett, admitted pro hac vice
                                      Craig C. Marchiando, admitted pro hac vice
                                      Consumer Litigation Associates, P.C.
                                      763 J. Clyde Morris Boulevard, Suite 1-A
                                      Newport News, Virginia 23601
                                      Email: lenbennett@clalegal.com
                                              craig@clalegal.com
                                      Telephone: 757-930-3660
                                      Facsimile: 757-930-3662
                                      Attorneys for Plaintiffs




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